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1                LAW OFFICES OF
           CHRISTOPHER H. WING
2    2701 DEL PASO ROAD, SUITE 130 #45
       SACRAMENTO, CA 95835
3                State Bar #063214


4
     ATTORNEYS FOR:            Defendant
5

6

7                                        IN THE UNITED STATES DISTRICT COURT

8                                     FOR THE EASTERN DISTRICT OF CALIFORNIA

9

10    UNITED STATES OF AMERICA                           No. 2-10 – Cr. 0305 MCE-2
                                                    )
11                                     Plaintiff,        STIPULATION AND [PROPOSED] ORDER
                                                         FOR TEMPORARY MODIFICATION OF
12          v.                                           CONDITIONS OF        RELEASE FOR
13                                                       DEFENDANT SARA SHIRAZI
      SARA SHIRAZI
14                                   Defendant,
15

16           It is hereby stipulated and agreed by and between the United States of America and
17   defendant SARA SHIRAZI, through their respective attorneys, that the conditions of Defendant’s

18   pre-trial release may be temporarily modified to allow Defendant to to visit Iran to visit her elderly
     parents who are in poor health. Ms. SHIRAZI’s conditions of pre-trial release were previously
19
     modified in 2012 to allow her to visit her ailing parents in Iran from June 30, 2012 to July 21, 2012.
20   There were no problems associated that trip.
21
             It is further stipulated that Ms. SHIRAZI may travel from California to Iran tentatively leaving
22
     on June 26, 2015 and returning to California on July 11, 2015, assuming flight availability.
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              1           To accomplish this, the parties agree that Ms. Shirazi’s counsel will pick up her passport from

              2   the Clerk of the United States District Court for the Eastern District of California upon this order
                  being entered by the Court. Defendant’s counsel will provide the Government with a copy of
              3
                  Defendant’s flight information before Defendant may receive her passport. The parties further
              4   stipulate and agree that Ms. Shirazi’s counsel will return Defendant’s passport to the Clerk of the
              5   United States District Court for the Eastern District of California by no later than July 20, 2015.

              6
                  Dated: May 20, 2015                                   BENJAMIN B. WAGNER
              7                                                         UNITED STATES ATTORNEY
              8                                                         By:/s/Philip A. Ferrari
                                                                             PHILIP A. FERRARI
              9                                                         Assistant U. S. Attorney
                                                                        (per email authorization)
            10

            11
                  Dated: May 20, 2015                                   /s/ Christopher H. Wing
            12                                                                CHRISTOPHER H. WING
                                                                         Attorney for Defendant SARA
            13                                                           SHIRAZI

            14
                                                                ORDER
            15
                          The matter having come on before me pursuant to the stipulation of the parties, and good
            16
                  cause appearing therefore:
            17

            18            IT IS ORDERED THAT: Defendant SARA SHIRAZI’s conditions of pretrial release shall be
                  modified to allow her to travel to Iran from June 26, 2015 with a return on July 11, 2015.
            19
                          IT IS FURTHER ORDERED THAT: The Clerk of the United States District Court for the
            20
                  Eastern District of California is instructed to allow Ms. Shirazi’s counsel, Christopher H. Wing, to
            21    retrieve his passport immediately. Counsel will not provide Defendant with the passport until the

            22    Government has been notified of her itinerary. The Court further orders Ms. Shirazi (or his counsel)
                  to return Defendant’s passport to the Clerk of the United States District Court for the Eastern District
            23
                  of California by no later than July 20, 2015, whereupon the original conditions of Defendant’s
            24    release shall be re-instated.
            25    Dated: May 21, 2015
            26
            27    dad1.crim

            28    shirazi0305.stipo.re.travel
LAW OFFICES OF
WING & PARISI
SACRAMENTO, CA.   ///
                                                                       2
